Case 2:97-cv-01360-WBS-JFM Document 273 Filed “FILED

JUL 2 1 1999
CLERK, U.S. DisT.
UNITED STATES DISTRICT COURK RICT COURT
BY EAN DISTRICT OF CALIFORNIA

EASTERN DISTRICT OF CALIFORNIA DEPUTY CLERK

JUDGMENT IN A CIVIL CASE

WESTFORK
v. CASE NUMBER: CIV 8-97-1360

USA et al

XX -- Jury Verdict. This action came before the Court for trial by jury. The issues have been
tried and the jury has rendered its verdict.

IT IS ORDERED AND ADJUDGED
THAT JUDGMENT IS HEREBY ENTERED IN FAVOR OF DEFENDANT
RIGHT AWAY FOODS AND AGAINST PLAINTIFF WESTFORK AND

CALNEVA CATTLE COMPANY IN ACCORDANCE WITH THE JURY
VERDICT RENDERED July 20, 1999.

JACK L. WAGNER,
CLERK OF COURT

by: tb

ENTERED: | July 21, 1999

4712
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United States District Court
for the
Eastern District of California
July 21, 1999

* * CERTIFICATE OF SERVICE * *
2:97-cv-01360

Westfork
Vv.

USA

I, the undersigned, hereby certify that I am an employee in the Office of
the Clerk, U.S. District Court, Eastern District of California.

That on July 21, 1999, I SERVED a true and correct copy(ies) of

the attached, by placing said copy(ies) in a postage paid envelope
addressed to the person(s) hereinafter listed, by depositing said
envelope in the U.S. Mail, by placing said copy(ies) into an inter-office
delivery receptacle located in the Clerk’s office, or, pursuant to prior
authorization by counsel, via facsimile.

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Jack L. Wagner, Clerk

x. “Va

Deputy Clerk
